     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 1 of 21




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 6
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
11   KAREN SHIELDS,                                  )       CASE NO. 2:19-cv-00934-JAD-NJK
                                                     )
12                                                   )       FIRST AMENDED COMPLAINT FOR
                     Plaintiff,                      )       DAMAGES AND OTHER RELIEF BASED
13                                                   )       UPON:
             vs.                                     )
14                                                   )         DISABILITY DISCRIMINATION AND
                                                     )         FAILURE TO ACCOMMODATE IN
15                                                   )         VIOLATION OF THE AMERICANS WITH
     CREDIT ONE BANK, N.A.; CREDIT ONE
                                                     )         DISABILITIES ACT
16   FINANCIAL, a Nevada Corporation;                )
     SHERMAN FINANCIAL GROUP, LLC, a                 )
17   Delaware Limited Liability Company,             )
                                                     )       JURY DEMAND
18                                                   )
                     Defendants.                     )
19                                                   )
                                                     )
20                                                   )
                                                     )
21
22          Plaintiff KAREN SHIELDS ("Plaintiff" or "Shields") alleges as follows:
23           1.      This action is brought pursuant to the Americans with Disabilities Act of 1990, 42
24   U.S.C. § 12101, et seq. (hereinafter “ADA”). Jurisdiction is predicated under this code section as
25   well as 28 U.S.C. § 1331 as this action involves a federal question.
26           2.      At all relevant times, Defendants CREDIT ONE BANK, N.A.; CREDIT ONE
27   FINANCIAL, a Nevada Corporation; SHERMAN FINANCIAL GROUP, LLC, a Delaware
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 2 of 21




 1   Limited Liability Company (hereinafter "Credit One” or "Defendants") employed twenty (20) or
 2   more employees for each working day during each of 20 or more calendar workweeks in the
 3   current or preceding calendar year, and they are therefore subject to the provisions of the ADA.
 4          3.      Further at all relevant time, Defendants, and each of them, were an owner, a co-
 5   owner, an agent, representative, partner, joint venturer, and/or alter ego of its co-Defendants, or
 6   otherwise acting on behalf of each and every remaining Defendant and, in doing the things
 7
     hereinafter alleged, were acting within the course and scope of their authorities as an owner, a co-
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     owner, an agent, representative, partner, joint venturer, and/or alter ego of its co-Defendants, with
 9
     the full knowledge, permission and consent of each and every remaining defendant, each co-
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     Defendant having ratified the acts of the other co-Defendants.
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            4.      The events or omissions giving rise to Plaintiff's claim occurred in this judicial
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     district, thus venue is proper here pursuant to 28 USC §1391(b)(2), and the ends of justice so
13
     require.
14
                                                  PARTIES
15
            5.      Plaintiff, Shields, is a citizen of the United States and a resident of the State of
16
17   Nevada, County of Clark and City of Las Vegas.

18          6.      Plaintiff is informed and believes and thereon alleges that at all relevant times

19   giving rise to the claims asserted, Plaintiff was employed in Las Vegas, Nevada by Credit One.

20   Defendants are an employer within the meaning of 42 USC §12111(5)(A).
21                                    EXHAUSTION OF REMEDIES
22          7.      Plaintiff timely filed a “Charge of Discrimination” with the Nevada Equal Rights
23   Commission and Equal Employment Opportunity Commission (“EEOC”) and was issued a Notice
24   of Right to Sue by the EEOC on March 5, 2019, a copy of which is attached to Complaint as
25   Exhibit “A”.
26
                                         STATEMENT OF FACTS
27
            8.      Plaintiff was employed as a Human Resources Generalist I from November 13,
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 3 of 21




 1   2017 to June 22, 2018.
 2           9.     At the end of January 2018 it was suspected that Shields had bone cancer in her
 3   right arm and shoulder that had metastasized from somewhere else which resulted in a bone
 4   biopsy surgery being performed on April 20, 2018 in which a 10 centimeter skin incision created a
 5   widow into the bone measuring one centimeter in width by two centimeters in length for the
 6   purpose of harvesting tissue from Plaintiff’s shoulder and arm. Shields was thereafter discharged
 7
     from the hospital on April 23, 2018.
 8
             10.    Thereafter on April 27, 2018 Shields’ Orthopedic Oncology Surgeon/Doctor,
 9
     Ronald Hillock, MD, completed a ADA Employee Accommodation Medical Certification Form
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     which was provided to Plaintiff by Capital One, a copy of which is attached to Complaint as
11
     Exhibit “B”.
12
             11.    In the Form, Dr. Hillock indicated that Shields was substantially limited by a
13
     medical condition or accompanying treatment in the major life activities of sleeping, lifting,
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     writing, pushing, pulling and manual tasks.
15
             12.    Plaintiff was unable to fully use her right shoulder, arm and hand which included,
16
17   among other things, lifting, pushing and pulling things with her shoulder, arm and hand, typing on

18   a computer keyboard or otherwise, handwrite, or even tie her shoes or lift a hair dryer to dry her

19   hair.

20           13.    The job description for the Human Resources Generalist I position lists physical
21   requirements of frequently being required to use hands to finger, handle, feel and reach with hands
22   and arms. Further the job description states that the employee must occasionally lift and/or move
23   up to 2 pounds. A copy of the job description is attached to Complaint as Exhibit “C”.
24           14.    Due to the surgery and recovery, Dr. Hillock indicated in the ADA Medical
25   Certification Form that Shields was unable to perform the essential job functions of her job as
26   Human Resources Generalist I with or without accommodations and Dr. Hillock initially stated
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     that Shields would not be able to return to work until 8 weeks after the surgery or until around
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 4 of 21




 1   June 20, 2018.     See the Work Summary Forms dated April 13, 2018 and May 11, 2018,
 2   collectively attached to the Complaint as Exhibit “D”.
 3          15.     These forms were forwarded to Defendants and on April 19, 2018 Shields was
 4   approved for an unpaid medical leave of absence as an accommodation under the ADA because
 5   she did not qualify for Family Medical Leave.
 6          16.     On May 3, 2018, Shields received the results of the bone biopsy which found
 7
     everything was benign.
 8
            17.     After her medical leave of absence started, Plaintiff received multiple texts, calls
 9
     and emails stating how much she was missed and that they could not wait for Shields to return.
10
     Plaintiff even received a flower arrangement from the HR department after her bone biopsy was
11
     completed.
12
            18.     During this time Shields was never contacted nor given information or costs
13
     regarding paying the employee portion of her monthly healthcare premium during the time she
14
     was on an unpaid leave of absence. Plaintiff had to contact Credit One to coordinate the payment
15
     of her portion of the monthly healthcare premiums out of fear of losing her healthcare coverage
16
17   which had become “past due.”

18          19.     Also during this time Shields qualified for Short Term Disability but was denied

19   Long Term Disability because she believes Capital One told the Long Term Disability carrier that

20   Plaintiff did not have a job to go back to.
21          20.     On June 18, 2018, Dr. Hillock extended Shields’ return to work date until July 12,
22   2018 and Plaintiff informed Defendant of this extension of her leave of absence. See the Work
23   Summary Form dated June 18, 2018 attached to Complaint as Exhibit “E” which says, “Patient
24   has an appointment on 7/10 at which point a return to work date will be discussed. Unable to
25   work until appointment.”
26          21.     During the extension of her leave of absence, Shields still was unable to fully use
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     her right shoulder, arm and hand as set forth above.
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 5 of 21




 1           22.     Thereafter on June 21, 2018 the HR Assistant Vice President called Plaintiff and
 2   asked her to come in to the Credit One HR office the next day. Shields asked if she was being
 3   fired and was told no that they needed Plaintiff to come in the next day regarding her healthcare
 4   premium.
 5           23.     On June 22, 2018 when Plaintiff arrived at the Credit One HR office she was told
 6   that she was being terminated due to the elimination of her position as a Human Resources
 7
     Generalist I.
 8
             24.     In fact her job duties were just redistributed to other employees and this was just a
 9
     way for Credit One to find a way to terminate Plaintiff’s employment. This was nothing more
10
     than a pretext for terminating Shields while her doctor still had her on medical leave and she still
11
     had limited use of her right shoulder, arm and hand. In fact, during this time Defendant hired
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     several other employees.
13
             25.     Finally on June 30, 3018, Plaintiff’s healthcare coverage was terminated so Shields
14
     had to discontinue her physical therapy sessions and had to cancel her last follow-up session on
15
     September 6, 2018 with Dr. Hillock.
16
17                                              CAUSE OF ACTION

18                               (For Disability Discrimination and Failure to

19                                  Accommodate in Violation of the ADA)

20           26.     Plaintiff Shields incorporates the allegations set forth in paragraphs 1 through 25,
21   inclusive, as if fully set forth herein.
22           27.     As set forth hereinabove, at the end of January 2018 it was suspected that Shields
23   had bone cancer in her right shoulder that had metastasized from somewhere else. Although a
24   bone biopsy showed everything was benign, this still was a physical impairment under the ADA.
25           28.     Thus Plaintiff’s physical impairment substantially limited major life activities
26   including sleeping, lifting, writing, pushing, pulling, manual tasks and working, as set forth in the
27
     ADA Employee Accommodation Medical Certification Form provided by her surgeon, Dr.
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 6 of 21




 1   Hillock.
 2          29.     Because of these physical impairment, Shield was unable to was unable to perform
 3   the essential job functions of her job as Human Resources Generalist I with or without
 4   accommodations until she was released by her doctor.
 5          30.     Dr. Hillock initially stated that Shields would not be able to return to work until 8
 6   weeks after her surgery on April 20, 2018 or until around June 20, 2018 but extended Plaintiff’s
 7
     return to work date until July 12, 2018 on June 18, 2018.
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            31.     During this time, Shields was unable to fully use her right shoulder, arm and hand
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     which included, among other things, lifting, pushing and pulling things with her shoulder, arm and
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     hand, typing on a computer keyboard or otherwise, handwrite, or even tie her shoes or lift a hair
11
     dryer to dry her hair.
12
            32.     Thus because Shields’ doctor said she could not go back to work until July 12,
13
     2018 and working is a major life activity under the ADA [see 42 U.S.C. §12102(2)(A)], Plaintiff
14
     was substantially limited in the major life activity of working, among other major life activities,
15
     and therefore was disabled under the ADA.
16
17          33.     Once Credit One determined Plaintiff was disabled under the ADA, they had a

18   mandatory duty under the law to interact with Shields to find a reasonable accommodation(s).

19          34.     Although Defendants initially granted Plaintiff’s leave of absence under the ADA

20   until June 20, 2018 per her doctor’s order, Credit One had a continuing duty under the ADA to
21   extend Shields’ medical leave of absence until she was able to return to her job unless it would
22   result in an indefinite leave of absence or it would cause an undue hardship to Defendants.
23          35.     Here there are not facts which would even remotely support that a short extension
24   to Plaintiff’s medical leave of absence (for approximately 22 days) would result in an indefinite
25   leave of absence or cause an undue hardship to Credit One.
26          36.     Thus because Defendants chose not to follow the existing law under the ADA and
27
     instead chose to terminate Plaintiff’s employment on June 22, 2018, they are liable to Plaintiff for
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 7 of 21




 1   damages under the ADA.
 2           37.       As a direct, foreseeable, and legal result of the Defendants’ disability
 3   discrimination and failure to accommodate Plaintiff's disability, Shields has suffered, overall
 4   economic losses in earnings, bonuses, job benefits and expenses, in an amount to be proven at trial
 5   which exceeds the minimum jurisdictional limits of this Court.
 6           38.       As a further direct, foreseeable, and legal result of the Defendants’ disability
 7
     discrimination and failure to accommodate Plaintiff's disability, Shields has suffered indignity,
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     mental anguish, humiliation, emotional distress, nervousness, tension, anxiety, change in sleep
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     patterns, depression, inconvenience and loss of enjoyment of life and other pecuniary losses, the
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     extent of which is not fully known at this time, for which Plaintiff seeks damages in an amount in
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     excess of the minimum jurisdictional limits of the Court, also to be proven at the time of trial.
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             39.       In acting as they did, Defendants knowingly, willfully, and intentionally acted in
13
     conscious disregard of Plaintiff's rights. Their conduct was despicable, has subjected Plaintiff to
14
     oppression, and it warrants an award of punitive and exemplary damages in favor of Plaintiff, in a
15
     sum according to proof at trial.
16
17           40.       Plaintiff claims the damages alleged herein, together with prejudgment interest as

18   provided by law, in a sum according to proof at trial.

19           41.       Plaintiff has incurred, and continues to incur, attorney's fees in the prosecution of

20   her claims. Plaintiff therefore seeks an award of reasonable attorney's fees, in a sum according to
21   proof at trial.
22                                           PRAYER FOR RELIEF
23           WHEREFORE, Plaintiff Shields demands judgment against Defendants as follows:
24           1.        Declaring that the acts and practices complained of herein are a violation of
25   the ADA;
26           2.        Enjoining and permanently restraining the violations by Defendants of the ADA;
27
             3.        For back pay and front pay for overall economic losses in earnings, bonuses, job
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     Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 8 of 21




 1   benefits and expenses, according to proof at time of trial;
 2           4.      For compensatory damages for mental and emotional distress, worry, indignity,
 3   mental anxiety, mortification, depression, shame, grief, inconvenience and loss of enjoyment of life
 4   and other pecuniary losses, all to Plaintiff's damage in a sum to be shown at the time of trial;
 5           5.      For punitive damages;
 6           6.      For attorney's fees and costs in an amount determined by the court to be reasonable;
 7
             7.      For pre-judgment interest on all damages; and
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             8.      For any other and further relief that the Court considers proper.
 9
                                        DEMAND FOR JURY TRIAL
10
             Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial by
11
     jury in this action.
12
13
             DATED: 8/8/2019                         LAW OFFICES OF MICHAEL P. BALABAN
14
15
16                                              BY: /s/ Michael P. Balaban
17                                                 Michael P. Balaban
                                                    LAW OFFICES OF MICHAEL P. BALABAN
18                                                  10726 Del Rudini Street
                                                    Las Vegas, NV 89141
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Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 9 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 10 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 11 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 12 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 13 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 14 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 15 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 16 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 17 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 18 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 19 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 20 of 21
Case 2:19-cv-00934-JAD-NJK Document 16 Filed 08/08/19 Page 21 of 21
